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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



LORI WAKEFIELD, individually and on                   Case No. 3:15-cv-1857-SI
behalf of a class of others similarly situated,
                                                      ORDER
               Plaintiffs,

       v.

VISALUS, INC.,

               Defendant.


Michael H. Simon, District Judge.

       The Court has not yet reached a decision on Defendant’s Motion to Decertify the Class.

ECF 306. Plaintiff is directed to file by August 7, 2019, a sur-reply to Defendant’s Supplemental

Reply Brief in Support of Motion to Decertify the Class (ECF 335) specifically addressing the

issue of waiver. Additionally, Plaintiffs are directed to advise the Court, if the Court were to find

no waiver, and if the Court were to agree with Defendant’s interpretation of the FCC order,

whether a new trial on all calls made after October 7, 2015 would be appropriate.

       IT IS SO ORDERED.

       DATED this 31st day of July, 2019.

                                                      /s/ Michael H. Simon
                                                      Michael H. Simon
                                                      United States District Judge




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